     Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 1 of 44 PageID: 1




James E. Cecchi, Esq.
Kevin G. Cooper, Esq.
CARELLA, BYRNE, CECCHI,
OLSTEIN, BRODY & AGNELLO, P.C.
5 Becker Farm Road
Roseland, New Jersey 07068
Telephone: (973) 994-1700
Facsimile: (973) 994-1744
Email: JCecchi@carellabyrne.com
       KCooper@carellabyrne.com


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

TYLER BAKER, ANNETTE NOKES, ROBERT                    Civil Action No.
BOTTERILL, SOPHIA PORTER, ANNA
SWARTZ, MIKE XAVIER, BRIAN SLAFTER,                   COMPLAINT and
HEIDI HUMPHREYS, FRANK ORTEGA, and                    DEMAND FOR JURY TRIAL
MICHAEL TAILLARD, on behalf of themselves
and a class of all others similarly situated,
                                  Plaintiffs,
v.

JOHNSON & JOHNSON CONSUMER INC.,

                                   Defendant.



         Plaintiffs Tyler Baker, Annette Nokes, Robert Botterill, Sophia Porter, Anna Swartz, Mike

Xavier, Brian Slafter, Heidi Humphreys, Frank Ortega, and Michael Taillard collectively,

“Plaintiffs”) individually and on behalf of themselves and all others similarly situated, bring this

class action lawsuit against Defendant Johnson & Johnson Consumer Inc. (“J&J” or “Defendant”)

based upon personal knowledge as to themselves, the investigation of their counsel, and on

information and belief as to all other matters.




                                                  1
    Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 2 of 44 PageID: 2




                                       INTRODUCTION

        1.     This is a class action lawsuit against Defendant regarding the manufacture,

distribution, and sale of its Neutrogena and Aveeno sunscreen products that contain benzene, a

known human carcinogen.1

        2.     Skin cancer is the most common form of cancer in the United States and according

to a report from the Office of the Surgeon General, approximately 4.3 million people are treated

for basal cell cancer and squamous cell skin cancer in the U.S. every year.2

        3.     According to the American Academy of Dermatology (“AAD”), everyone needs to

wear sunscreen.3 Anyone can get skin cancer regardless of age, gender, or race, and “sunscreen

use can help prevent skin cancer by protecting you from the sun’s harmful ultraviolet rays.”4

        4.     Sunscreen products are regulated as over-the-counter drugs by the U.S. Food and

Drug Administration (“FDA”).5 The FDA has several safety and effectiveness regulations in place




1
  The products at issue include: Neutrogena Ultra Sheer Weightless Sunscreen Spray, SPF 100+,
Neutrogena Ultra Sheer Weightless Sunscreen Spray, SPF 70, Neutrogena Ultra Sheer Body
Mist Sunscreen Broad Spectrum SPF 45, Neutrogena Ultra Sheer Body Mist Sunscreen Broad
Spectrum SPF 30 Spray, Neutrogena Ultra Sheer Dry-Touch Water Resistant Sunscreen SPF 70,
Neutrogena Beach Defense Oil-Free Body Sunscreen Spray - SPF 100, Neutrogena Beach
Defense Spray Body Sunscreen SPF 70, Neutrogena Beach Defense Spray Body Sunscreen SPF
30, Neutrogena Beach Defense Spray Body Sunscreen SPF 50, Neutrogena Invisible Daily
Defense Body Sunscreen Broad Spectrum SPF 60+, Neutrogena CoolDry Sport Water-Resistant
Sunscreen Spray SPF 70, Neutrogena CoolDry Sport Water-Resistant Sunscreen Spray SPF 50,
Neutrogena CoolDry Sport Water-Resistant Sunscreen Spray SPF 100, and Aveeno Protect +
Refresh Spray SPF 60 (the “Affected Products”). Plaintiffs reserve the right to amend this list if
further investigation and/or discovery reveals that the list should be amended.
2
  Tips to Stay Safe in the Sun: From Sunscreen to Sunglasses, U.S. FOOD & DRUG
ADMINISTRATION, https://www.fda.gov/consumers/consumer-updates/tips-stay-safe-sun-
sunscreen-sunglasses?gclid=CjwKCAjwwqaGBhBKEiwAMk-FtF7PGr (last visited July 29,
2021)
3
  Sunscreen FAQS, AMERICAN ACADEMY of DERMATOLOGY ASSOCIATION,
https://www.aad.org/public/everyday-care/sun-protection/sunscreen-patients/sunscreen-faqs (last
visited July 29, 2021)
4
  Id.
5
  See 21 C.F.R. § 352, et seq.
                                                2
    Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 3 of 44 PageID: 3




that govern the manufacture and marketing of all sunscreen products, including safety data on its

ingredients.6

        5.      On May 24, 2021, Valisure, an independent pharmacy that analyzes the safety of

consumer products, filed a citizen petition with the FDA detailing its findings that it detected high

levels of benzene in many sunscreen and after-sun care products, including several of Defendant’s

sunscreen products. Valisure called for the FDA to recall all batches of Defendant’s products that

contained benzene on the basis that they are adulterated under Section 501 of the Federal Drug

and Cosmetics Act (“FDCA”) in violation of 21 U.S.C. § 351, and misbranded under Section 502

of the FDCA in violation of 21 U.S.C. § 352.

        6.      Benzene is a known human carcinogen. The World Health Organization (“WHO”)

and the International Agency for Research on Cancer (“IARC”) have classified benzene as a Group

1 compound thereby defining it as “carcinogenic to humans.”7 Similarly, the Department of Health

and Human Services (“DHHS”) has determined that benzene causes cancer in humans.8 Benzene

exposure has been linked with acute lymphocytic leukemia, chronic lymphocytic leukemia,

multiple myeloma, and non-Hodgkin lymphoma.9

        7.      According to Valisure, because many of the products it tested did not contain

detectable levels of benzene, it appears that benzene is not a requisite component of manufacturing



6
  Id.; see also Tips to Stay Safe in the Sun: From Sunscreen to Sunglasses, U.S. FOOD & DRUG
ADMINISTRATION, https://www.fda.gov/consumers/consumer-updates/tips-stay-safe-sun-
sunscreen-sunglasses?gclid=CjwKCAjwwqaGBhBKEiwAMk-FtF7PGr (last visited July 29,
2021)
7
  IARC Monographs on the Identification of Carcinogenic Hazards to Humans: List of
Classifications, INTERNATIONAL AGENCY FOR RESEARCH ON CANCER, WORLD HEALTH
ORGANIZATION, https://monographs.iarc.who.int/list-of-classifications (last visited July 29,
2021)
8
  Facts About Benzene, CENTERS FOR DISEASE CONTROL AND PREVENTION (April 4, 2018)
https://emergency.cdc.gov/agent/benzene/basics/facts.asp (last visited July 29, 2021)
9
  Benzene and Cancer Risk, AMERICAN CANCER SOCIETY
https://www.cancer.org/cancer/cancer-causes/benzene.html (last visited July 29, 2021)
                                                 3
     Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 4 of 44 PageID: 4




or packaging sunscreen.10 As such, “[a]ny significant detection of benzene should be deemed

unacceptable.”11

         8.    David Light, Founder and CEO of Valisure stated that “[t]he presence of this known

human carcinogen in products widely recommended for the prevention of skin cancer and that are

regularly used by adults and children is very troubling[.]”12

         9.    The presence of benzene in the Affected Products is not disclosed on the Affected

Products’ labels. Therefore, Plaintiffs, by use of reasonable care, could not have discovered that

the Affected Products were contaminated with Benzene.

         10.   Plaintiffs and Class members purchased the Affected Products with the expectation

that the products were safe, including free of carcinogens. Because Defendant sold products to

consumers that contain dangerous levels of benzene, Plaintiffs and the Classes were deprived of

the benefit of their bargain.

         11.   Despite Valisure’s extensive testing and reporting on the presence of benzene in

the Affected Products, J&J waited nearly two months to warn members of the public of – or take

any action whatsoever – regarding the risks to their health or safety. This two-month delay

spanned two major holiday weekends, Memorial Day weekend and July 4th weekend, events

which Defendant reasonably expected would elevate consumer demand for and sales of sunscreen

products.




10
   David Light, Kaury Kucera, PhD, and Quian Wu, PhD, Valisure Citizen Petition on Benzene
in Sunscreen and After-sun Care Products (May 24, 2021), https://www.valisure.com/wp-
content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-Care-
Products-v9.7.pdf (last visited July 29, 2021).
11
   Id.
12
   Valisure Detects Benzene in Sunscreen, VALISURE (May 25, 2021)
https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-sunscreen/ (last visited
July 29, 2021).
                                                 4
     Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 5 of 44 PageID: 5




         12.   On July 14, 2021, Defendant finally acknowledged Valisure’s findings and issued

a recall of certain, but not all,13 of its products that contain benzene. Defendant recalled five of its

product lines, including Neutrogena Beach Defense® aerosol sunscreen, Neutrogena Cool Dry

Sport aerosol sunscreen, Neutrogena Invisible Daily™ defense aerosol sunscreen, Neutrogena

Ultra Sheer® aerosol sunscreen, and Aveeno Protect + Refresh aerosol sunscreen.14

         13.   In order to prevent Defendant from selling misbranded, illegal, and dangerous

products in the future, Plaintiffs seek injunctive relief including, but not limited to requiring

Defendant to improve internal testing protocols and also requiring independent testing of its

products to ensure that its sunscreen products are free of benzene before they are sold.

         14.   Accordingly, Plaintiffs bring this action on behalf of themselves and the Class for

equitable relief and to recover damages and restitution for: (i) breach of express warranty; (ii)

breach of implied warranty; (iii) violation of New Jersey’s Consumer Fraud Act, N.J. Stat. Ann. §

56:8-1 et seq.; (iv) violation of Vermont’s Consumer Fraud Act, VT. Stat. Ann. Tit. 9, § 2451 et

seq.; (v) violation of Michigan’s Consumer Protection Act, Mich. Comp. Laws Ann. § 445.903 et

seq.; (vi) violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 Pa.

Cons. Stat. §§ 201-2 & 201-3, et seq.; (vii) violation of South Carolina’s Unfair Trade Practices

Act, S.C. Code Ann. § 39-5-10 et seq.; (viii) violation of Maryland’s Consumer Protection Act,




13
   David Light, Kaury Kucera, PhD, and Quian Wu, PhD, Valisure Citizen Petition on Benzene
in Sunscreen and After-sun Care Products (May 24, 2021), https://www.valisure.com/wp-
content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-Care-
Products-v9.7.pdf (last visited July 29, 2021). To date, Defendant has not recalled Ultra Sheer
Dry-Touch Water Resistant Sunscreen SPF 70. The recall further requires receipts for
submissions over a number threshold unilaterally set by J&J.
14
   Press Release, JOHNSON & JOHNSON, Johnson & Johnson Consumer Inc. Issues Voluntary
Recall of Specific NEUTROGENA® and AVEENO® Aerosol Sunscreen Products Due to the
Presence of Benzene (July 14, 2021) (https://www.jnj.com/johnson-johnson-consumer-inc-
issues-voluntary-recall-of-specific-neutrogena-and-aveeno-aerosol-sunscreen-products-due-to-
the-presence-of-benzene) (last visited July 29, 2021).
                                                   5
  Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 6 of 44 PageID: 6




MD. Comm. Code § 13-301 et seq.; (ix) violation of Hawaii’s Unfair Practices and Unfair

Competition Act, Haw. Rev. Stat. § 480-1 et seq.; (x) violation of Illinois’ Consumer Fraud and

Deceptive Business Practices Act, 815 ILL. Comp. Stat. §§ 505 et seq. (xi) violation of California’s

Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.; (xii) violation of California’s

Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.; and (xiii) unjust enrichment.

                                             PARTIES

       15.     Plaintiff Tyler Baker is a resident and citizen of the state of Vermont. In May 2019,

Mr. Baker purchased Aveeno Protect + Refresh Sunscreen Spray SPF 60 from a Walmart retail

store located in Williston, Vermont. In May 2020, Plaintiff Baker purchased Aveeno Protect +

Refresh Sunscreen Spray SPF 60 from a Hannaford Supermarket and Pharmacy retail store located

in South Burlington, Vermont. When purchasing the Affected Products, Mr. Baker reviewed the

accompanying labels and disclosures, and understood them as representations and warranties by

Defendant that the products were properly manufactured, free from defects, and safe for their

intended use. Mr. Baker relied on these representations and warranties in deciding to purchase the

products and these representations and warranties were part of the basis of the bargain in that he

would not have purchased the Affected Products from Defendant if he had known that they were

not, in fact, properly manufactured, free from defects, or safe for their intended use.

       16.      Plaintiff Annette Nokes is a resident and citizen of the state of Arizona. Between

2017 and 2018, Ms. Nokes purchased Neutrogena Beach Defense aerosol sunscreen at least two

or three times from Publix and/or Walgreens retail stores located in Hilton Head Island, South

Carolina. When purchasing the Affected Products, Ms. Nokes reviewed the accompanying labels

and disclosures, and understood them as representations and warranties by Defendant that the

products were properly manufactured, free from defects, and safe for their intended use. Ms. Nokes

relied on these representations and warranties in deciding to purchase the products and these


                                                  6
  Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 7 of 44 PageID: 7




representations and warranties were part of the basis of the bargain in that she would not have

purchased the Affected Products from Defendant if she had known that they were not, in fact,

properly manufactured, free from defects, or safe for their intended use.

       17.     Plaintiff Robert Botterill is a resident and citizen of the state of Maryland. Since

approximately 2017, Mr. Botterill purchased two to three bottles of Aveeno Protect + Refresh

Sunscreen Spray per year. Mr. Botterill purchased the products from Walmart retail locations in

Frederick, Maryland and Eldersburg, Maryland, and CVS retail locations in Walkersville,

Maryland and Ocean City, MD. When purchasing the Affected Products, Mr. Botterill reviewed

the accompanying labels and disclosures, and understood them as representations and warranties

by Defendant that the products were properly manufactured, free from defects, and safe for their

intended use. Mr. Botterill relied on these representations and warranties in deciding to purchase

the products and these representations and warranties were part of the basis of the bargain in that

he would not have purchased the Affected Products from Defendant if he had known that they

were not, in fact, properly manufactured, free from defects, or safe for their intended use.

       18.     Plaintiff Anna Swartz is a resident and citizen of the state of California. Between

June 2019 and May 2021, Ms. Swartz purchased approximately 10-15 bottles of Neutrogena Ultra

Sheer aerosol sunscreen. Ms. Swartz purchased the products from Ross Dress for Less retail stores

located in Kaneohe, Hawaii. When purchasing the Affected Products, Ms. Swartz reviewed the

accompanying labels and disclosures, and understood them as representations and warranties by

Defendant that the products were properly manufactured, free from defects, and safe for their

intended use. Ms. Swartz relied on these representations and warranties in deciding to purchase

the products and these representations and warranties were part of the basis of the bargain in that

she would not have purchased the Affected Products from Defendant if she had known that they

were not, in fact, properly manufactured, free from defects, or safe for their intended use.


                                                 7
  Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 8 of 44 PageID: 8




       19.     Plaintiff Sophia Porter is a resident and citizen of the state of California. Since in

or around December 2020, Ms. Porter has purchased approximately 10 bottles of Neutrogena Ultra

Sheer aerosol sunscreen from Target retail stores located in Los Angeles and West Hollywood,

California, and a Walmart retail store located in Burbank, California. When purchasing the

Affected Products, Ms. Porter reviewed the accompanying labels and disclosures, and understood

them as representations and warranties by Defendant that the products were properly

manufactured, free from defects, and safe for their intended use. Ms. Porter relied on these

representations and warranties in deciding to purchase the products and these representations and

warranties were part of the basis of the bargain in that she would not have purchased the Affected

Products from Defendant if she had known that they were not, in fact, properly manufactured, free

from defects, or safe for their intended use.

       20.     Plaintiff Mike Xavier is a resident and citizen of the state of California. Between

approximately June 2018 through August 2020, Mr. Xavier purchased Neutrogena Beach Defense

aerosol sunscreen multiple times from Walmart and Target retails stores located in Roseville,

California. When purchasing the Affected Products, Mr. Xavier reviewed the accompanying

labels and disclosures, and understood them as representations and warranties by Defendant that

the products were properly manufactured, free from defects, and safe for their intended use. Mr.

Xavier relied on these representations and warranties in deciding to purchase the products and

these representations and warranties were part of the basis of the bargain in that he would not have

purchased the Affected Products from Defendant if he had known that they were not, in fact,

properly manufactured, free from defects, or safe for their intended use.

       21.     Plaintiff Frank Ortega is a resident and citizen of the state of California. Between

2019 and June 2021, Mr. Ortega purchased approximately two to three bottles of Neutrogena

CoolDry Sport aerosol sunscreen from a Target retail store located in Northridge California. When


                                                 8
  Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 9 of 44 PageID: 9




purchasing the Affected Products, Mr. Ortega reviewed the accompanying labels and disclosures,

and understood them as representations and warranties by Defendant that the products were

properly manufactured, free from defects, and safe for their intended use. Mr. Ortega relied on

these representations and warranties in deciding to purchase the products and these representations

and warranties were part of the basis of the bargain in that he would not have purchased the

Affected Products from Defendant if he had known that they were not, in fact, properly

manufactured, free from defects, or safe for their intended use.

       22.     Plaintiff Brian Slafter is a resident and citizen of the state of Illinois. Between June

2020 and June 2021, Mr. Slafter purchased Neutrogena Ultra Sheer aerosol sunscreen and

Neutrogena Beach Defense aerosol sunscreen from a Walmart retail store located in Centralia,

Illinois. When purchasing the Affected Products, Mr. Slafter reviewed the accompanying labels

and disclosures, and understood them as representations and warranties by Defendant that the

products were properly manufactured, free from defects, and safe for their intended use. Mr. Slafter

relied on these representations and warranties in deciding to purchase the products and these

representations and warranties were part of the basis of the bargain in that he would not have

purchased the Affected Products from Defendant if he had known that they were not, in fact,

properly manufactured, free from defects, or safe for their intended use.

       23.     Plaintiff Heidi Humphreys is a resident and citizen of the state of Pennsylvania.

Ms. Humphreys purchased Neutrogena Ultra Sheer aerosol sunscreen approximately one time per

year for the last several years from a Walmart retail store located in Shrewsbury, Pennsylvania.

When purchasing the Affected Products, Ms. Humphreys reviewed the accompanying labels and

disclosures, and understood them as representations and warranties by Defendant that the products

were properly manufactured, free from defects, and safe for their intended use. Ms. Humphreys

relied on these representations and warranties in deciding to purchase the products and these


                                                  9
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 10 of 44 PageID: 10




representations and warranties were part of the basis of the bargain in that she would not have

purchased the Affected Products from Defendant if she had known that they were not, in fact,

properly manufactured, free from defects, or safe for their intended use.

       24.     Plaintiff Michael Taillard is a resident and citizen of the state of Michigan. Mr.

Taillard purchased approximately 3 or 4 bottles of Neutrogena Beach Defense aerosol sunscreen

from a Shop-N-Save retail store located in Benzonia, Michigan, most recently in August 2020.

When purchasing the Affected Products, Mr. Taillard reviewed the accompanying labels and

disclosures, and understood them as representations and warranties by Defendant that the products

were properly manufactured, free from defects, and safe for their intended use. Mr. Taillard relied

on these representations and warranties in deciding to purchase the products and these

representations and warranties were part of the basis of the bargain in that he would not have

purchased the Affected Products from Defendant if he had known that they were not, in fact,

properly manufactured, free from defects, or safe for their intended use.

       25.     Defendant J&J is a New Jersey corporation with its principal place of business and

headquarters in located at One Johnson & Johnson Plaza, New Brunswick, New Jersey. At all

relevant times hereto, Defendant was engaged in manufacturing, marketing, distributing, and

advertising the Affected Products throughout the United States. Defendant created and/or

authorized the false and misleading advertising and labeling of the Affected Products.

                                JURISDICTION AND VENUE

       26.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d) because

there are more than 100 Class members; the aggregate amount in controversy exceeds

$5,000,000.00, exclusive of interest, fees, and costs; and at least one Class member is a citizen of

a state different from the Defendant.




                                                10
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 11 of 44 PageID: 11




       27.     This Court has personal jurisdiction over Defendant because Defendant is

headquartered in this State and regularly sells and markets its product in this State. Defendant

derives substantial revenue from sales of its products in this State, with knowledge that its products

are being marketed and sold for use in this State.

       28.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant is

headquartered here and conducts substantial business in this District.

                                  FACTUAL ALLEGATIONS

A.     The Dangers of Benzene

       29.     The National Institute for Occupational Safety and Health (“NIOSH”) defines

benzene as a carcinogen.15

       30.     According to the U.S. Centers for Disease Control and Prevention (“CDC”), the

U.S. Department of Health and Human Services has determined that benzene causes cancer in

humans. Similarly, the WHO and the IARC have classified benzene as a Group 1 compound

thereby defining it as “carcinogenic to humans.”16

       31.     The NIOSH and CDC identify “exposure routes” for benzene to include:

“inhalation, skin absorption, ingestion, skin and/or eye contact.”17

       32.     The NIOSH and CDC identify “target organs” associated with human exposure to

benzene to include: “eyes, skin, respiratory system, blood, central nervous system, bone marrow.18




15
   Facts About Benzene, CENTERS FOR DISEASE CONTROL AND PREVENTION (April 4, 2018)
https://emergency.cdc.gov/agent/benzene/basics/facts.asp (last visited July 29, 2021).
16
   David Light, Kaury Kucera, PhD, and Quian Wu, PhD, Valisure Citizen Petition on Benzene
in Sunscreen and After-sun Care Products (May 24, 2021), https://www.valisure.com/wp-
content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-Care-
Products-v9.7.pdf (last visited July 29, 2021).
17
   NIOSH Pocket Guide to Chemical Hazards: Benzene, CENTERS FOR DISEASE CONTROL AND
PREVENTION, https://www.cdc.gov/niosh/npg/npgd0049.html (last visited July 29, 2021).
18
   Id.
                                                 11
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 12 of 44 PageID: 12




       33.     The CDC warns that “[b]enzene works by causing cells not to work correctly. For

example, it can cause bone marrow not to produce enough red blood cells, which can lead to

anemia. Also, it can damage the immune system by changing blood levels of antibodies and

causing the loss of white blood cells.”19

       34.     As for “where benzene is found and how it is used,” the CDC states that “[s]ome

industries use benzene to make other chemicals that are used to make plastics, resins, and nylon

and synthetic fibers. Benzene is also used to make some types of lubricants, rubbers, dyes,

detergents, drugs, and pesticides.”20

       35.     The CDC has stated that ways in which people “could be exposed to benzene”
include:

                  Outdoor air contains low levels of benzene from tobacco smoke, gas stations,
                   motor vehicle exhaust, and industrial emissions.

                  Indoor air generally contains levels of benzene higher than those in outdoor air.
                   The benzene in indoor air comes from products that contain benzene such as
                   glues, paints, furniture wax, and detergents.

                  The air around hazardous waste sites or gas stations can contain higher levels
                   of benzene than in other areas.

                  Benzene leaks from underground storage tanks or from hazardous waste sites
                   containing benzene can contaminate well water.

                  People working in industries that make or use benzene may be exposed to the
                   highest levels of it.

                  A major source of benzene exposure is tobacco smoke.21




19
   Facts About Benzene, CENTERS FOR DISEASE CONTROL AND PREVENTION (April 4, 2018)
https://emergency.cdc.gov/agent/benzene/basics/facts.asp (last visited July 29, 2021).
20
   Id.
21
   Id.
                                                12
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 13 of 44 PageID: 13




        36.      A 2010 study titled “Advances in Understanding Benzene Health Effects and

Susceptibility” summarized the epidemiological studies of the carcinogenic effects of benzene

exposure and an overview of the hematotoxic effects of benzene.22 The 2010 study concluded:

                 a. There is probably no safe level of exposure to benzene, and all exposures

                     constitute some risk in a linear, if not supralinear, and additive fashion.

                 b. Exposure to benzene can lead to multiple alterations that contribute to the

                     leukemogenic process, indicating a multimodal mechanism of action.

                 c. Benzene is a ubiquitous chemical in our environment that causes acute leukemia

                     and probably other hematological cancers.

        37.      The FDA currently recognizes the danger of benzene and, as a result, has claimed

it should not be used in the manufacture of any component of a drug product due to its unacceptable

toxicity effect.23

        38.      Where the use of benzene or other Class 1 solvents is unavoidable, the FDA has

stated that the levels should be restricted, and benzene is restricted under such guidance to 2 parts

per million.24




22
   Martyn T. Smith, Advances in Understanding Benzene Health Effects and Susceptibility,
ANNUAL REVIEWS, Vol. 31:133-148 (April 21, 2010)
https://www.annualreviews.org/doi/full/10.1146/annurev.publhealth.012809.103646 (last visited
July 29, 2021).
23
   David Light, Kaury Kucera, PhD, and Quian Wu, PhD, Valisure Citizen Petition on Benzene
in Sunscreen and After-sun Care Products (May 24, 2021), https://www.valisure.com/wp-
content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-Care-
Products-v9.7.pdf (last visited July 29, 2021).
24
   Id.
                                                   13
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 14 of 44 PageID: 14




       39.       Because many of the products Valisure tested did not contain detectable levels of

benzene, it does not appear that benzene use is unavoidable for their manufacture.25 As such,

“[a]ny significant detection of benzene should be deemed unacceptable.”26

       40.       The FDA regulates sunscreens, including the Affected Products at issue here, as

over-the-counter (“OTC”) drugs rather than as cosmetics. The FDA regulates sunscreens to ensure

they meet safety and effectiveness standards. See generally 21 CFR §§ 352.1– 352.77. The FDA

requires sunscreen manufacturers to subject their products to certain testing before they are made

available to any consumer.27

       41.       The FDA has also identified acceptable active ingredients for products labeled as

sunscreen.28 Benzene is not one of those acceptable ingredients.29

       42.       As such, the presence of this known human carcinogen in sunscreen products

widely recommended for the prevention of skin cancer and regularly used by adults and children

in large volumes makes the presence of benzene in sunscreen products especially troubling.

B.     The Valisure Lab Report Identified High Levels of Benzene In Defendant’s
       Products

       43.       Valisure analyzed 294 unique batches from 69 brands of sunscreen and after-sun

care products.




25
   David Light, Kaury Kucera, PhD, and Quian Wu, PhD, Valisure Citizen Petition on Benzene
in Sunscreen and After-sun Care Products (May 24, 2021), https://www.valisure.com/wp-
content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-Care-
Products-v9.7.pdf (last visited July 29, 2021).
26
   Id.
27
   Sunscreen: How to Help Protect Your Skin from the Sun, U.S. FOOD & DRUG
ADMINISTRATION, https://www.fda.gov/drugs/understanding-over-counter-medicines/sunscreen-
how-help-protect-your-skin-sun (last visited July 29, 2021).
28
   Id.
29
   Id.
                                                14
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 15 of 44 PageID: 15




       44.    Valisure identified fourteen sunscreen and after-sun care product or product line

batches which contained levels of benzene at 2 ppm or higher. Ten of the fourteen batches are

manufactured by J&J:




       45.    In fact, Defendant’s products had the highest levels of benzene detected in any of

the sunscreen products tested by Valisure.

       46.    The lowest level of benzene found in the Neutrogena products listed in the chart

above is 2.64 ppm (Beach Defense Oil-Free Body Sunscreen Spray - SPF 100), or 32% higher

than the 2 ppm concentration limit for “unavoidable” uses.

       47.    The highest level of benzene found in the Neutrogena products listed in the chart

above is 6.77 ppm (Ultra Sheer Weightless Sunscreen Spray, SPF 100+), or more than 3 times the

concentration limit for “unavoidable” uses.

       48.    In the face of the Valisure report, albeit almost two months after the findings were

made public, J&J announced that the “only sunscreen products impacted are aerosol products”:

                                               15
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 16 of 44 PageID: 16




                      NEUTROGENA® Beach Defense® aerosol sunscreen;
                      NEUTROGENA® Cool Dry Sport aerosol sunscreen;
                      NEUTROGENA® Invisible Daily™ defense aerosol sunscreen;
                      NEUTROGENA® Ultra Sheer® aerosol sunscreen;30 and
                      AVEENO® Protect + Refresh aerosol sunscreen.”31

       49.     The two-month delay spanned two major holiday weekends, Memorial Day

weekend and July 4th weekend, events which Defendant reasonably expected would elevate

consumer demand for and sales of sunscreen products.

       50.     J&J claims that its “medical safety team worked with external experts to conduct a

health and safety assessment of these aerosol sunscreen products.”32

       51.     As part of its media and public relations announcements that followed the

publicized Valisure report, J&J did not link its referenced “health and safety assessments.”

       52.     J&J also claims that “daily exposure to benzene in these aerosol sunscreen products

at the levels detected in our testing would not be expected to cause adverse health consequences.”33

       53.     As part of its media and public relations announcements that followed the

publicized Valisure report, J&J did not link its referenced “testing.”


30
   Press Release, JOHNSON & JOHNSON, Johnson & Johnson Consumer Inc. Issues Voluntary
Recall of Specific NEUTROGENA® and AVEENO® Aerosol Sunscreen Products Due to the
Presence of Benzene (July 14, 2021) (https://www.jnj.com/johnson-johnson-consumer-inc-
issues-voluntary-recall-of-specific-neutrogena-and-aveeno-aerosol-sunscreen-products-due-to-
the-presence-of-benzene) (last visited July 29, 2021); Press Release, NEUTROGENA®, Aerosol
Sunscreen Voluntary Recall Statement (https://www.neutrogena.com/sunscreen-recall.html) (last
visited July 29, 2021), (Neutrogena-specific announcement).
31
   Press Release, AVEENO®, Sunscreen Recall https://www.aveeno.com/sunscreen-recall (last
visited July 29, 2021).
32
   Press Release, NEUTROGENA®, Aerosol Sunscreen Voluntary Recall Statement
(https://www.neutrogena.com/sunscreen-recall.html) (last visited July 29, 2021).
33
   Press Release, JOHNSON & JOHNSON, Johnson & Johnson Consumer Inc. Issues Voluntary
Recall of Specific NEUTROGENA® and AVEENO® Aerosol Sunscreen Products Due to the
Presence of Benzene (July 14, 2021) (https://www.jnj.com/johnson-johnson-consumer-inc-
issues-voluntary-recall-of-specific-neutrogena-and-aveeno-aerosol-sunscreen-products-due-to-
the-presence-of-benzene) (last visited July 29, 2021); Voluntary Aerosol Sunscreen Product
Recall, https://www.neutrogena.com/on/demandware.static/-/Library-Sites-
JNJSharedLibrary/default/dwea9de690/USAerosolSunscreenProductList.pdf (last visited July
29, 2021), (product list, by product lot and expiration).
                                                 16
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 17 of 44 PageID: 17




       54.     Instead, what was included in J&J’s media and public relations announcements that

followed the publicized Valisure report, was: “We are investigating the cause of this issue, which

is limited to certain aerosol sunscreen products.”

       55.     The presence of benzene in the Affected Products is not disclosed on the Affected

Products’ labels. Therefore, Plaintiffs, by use of reasonable care, could not have discovered that

the Affected Products were contaminated with Benzene.

       56.     By marketing and selling its sunscreen products in the stream of commerce with

the intent that its Affected Products would be purchased by Plaintiffs and the Classes, Defendant

warrants that the Affected Products are sunscreens to be used for sun protection, rather than

adulterated sunscreens containing dangerous chemicals.

C.     Defendant’s False and Misleading Advertising Campaign

       57.     Benzene is not listed on the Affected Product labels as either an active or inactive

ingredient, nor is there any warning about the inclusion (or even potential inclusion) of benzene in

the Affected Products.

       58.     Rather, Defendant has long represented that its Neutrogena products are “#1

Dermatologist Recommended” and its Aveeno products are “Dermatologist Recommended.”

These claims remain unchanged despite Valisure’s discovery of benzene in the Affected Products.

       59.     Defendant’s advertising and packaging also emphasize the products’ safety and

health benefits. For example, in its packaging and advertising for its Neutrogena Ultra Sheer

products, which is among the Affected Products, Defendant repeatedly describes the products as

“clean.”

       60.     Defendant also touts itself as “[l]eading the way” in product testing. On its

webpage that is dedicated to its allegedly high product-testing standards, Defendant states, “We

set a high bar for using ingredients. Our ingredients are screened for quality, manufacturing


                                                17
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 18 of 44 PageID: 18




process, government regulations, published research, and our own ingredient safety databases.”34

Defendant also claims that “[s]afety doesn’t end with placing the products on the shelf. Our experts

are continuously monitoring and adjusting the process based on the latest research, guidance,

regulations, customer, and consumer feedback.”35

       61.     Similarly, on its Aveeno website, Defendant claims that “‘Good enough’ is never

good enough for Aveeno®. Our internal standards for safety testing and ingredient quality far

exceed those set by regulators around the world.”36

       62.     Defendant’s advertising campaign is false and misleading.          The presence of

benzene in the Affected Products render the products illegal and unfit for sale in trade or

commerce. Plaintiffs would not have purchased the Affected Products had they been truthfully

and accurately labeled.

                              CLASS ACTION ALLEGATIONS

       63.     Plaintiffs bring this action pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal

Rules of Civil Procedure, individually and on behalf of the following Classes:

               All persons who purchased one or more of Defendant’s Affected Products in the
               United States for personal/household use within any applicable limitations period
               (the “Nationwide Class”).

       64.     Plaintiffs Porter, Xavier, and Ortega bring this action individually and on behalf of

the following California subclass:

               All persons who purchased one or more of Defendant’s Affected Products in the
               state of California for personal/household use within any applicable limitations (the
               “California Subclass”).

       65.     Plaintiff Swartz brings this action individually and on behalf of the following



34
   Neutrogena Product Testing, https://www.neutrogena.com/producttesting.html (last visited
July 29, 2021).
35
   Id.
36
   About Aveeno, https://www.aveeno.com/about (last visited July 29, 2021).
                                                18
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 19 of 44 PageID: 19




Hawaii subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of Hawaii for personal/household use within any applicable limitations (the
                “Hawaii Subclass”).

        66.     Plaintiff Slafter brings this action individually and on behalf of the following

Illinois subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of Illinois for personal/household use within any applicable limitations (the
                “Illinois Subclass”).

        67.     Plaintiff Nokes brings this action individually and on behalf of the following South

Carolina subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of South Carolina for personal/household use within any applicable limitations
                (the “South Carolina Subclass”).

        68.     Plaintiff Botterill brings this action individually and on behalf of the following

Maryland subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of Maryland for personal/household use within any applicable limitations (the
                “Maryland Subclass”).

        69.     Plaintiff Taillard brings this action individually and on behalf of the following

Michigan subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of Michigan for personal/household use within any applicable limitations (the
                “Michigan Subclass”).

        70.     Plaintiff Humphreys brings this action individually and on behalf of the following

Pennsylvania subclass:

                All persons who purchased one or more of Defendant’s Affected Products in the
                state of Pennsylvania for personal/household use within any applicable limitations
                (the “Pennsylvania Subclass”).

        71.     Plaintiff Baker brings this action individually and on behalf of the following


                                                 19
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 20 of 44 PageID: 20




Vermont subclass:

               All persons who purchased one or more of Defendant’s Affected Products in the
               state of Vermont for personal/household use within any applicable limitations (the
               “Vermont Subclass”).

       72.     Excluded from the Class and Subclass are: (1) any Judge or Magistrate presiding

over this action and any members of their families; (2) Defendant, Defendant’s subsidiaries,

parents, successors, predecessors, and any entities in which Defendant or its parents and any

entities in which Defendant has a controlling interest and its current or former employees, officers,

and directors; and (3) individuals who allege personal bodily injury resulting from the use of

Affected Products.

       73.     Numerosity (Rule 23(a)(1)): The exact number of members of the Class is unknown

and currently unavailable to Plaintiffs, but joinder of individual members herein is impractical.

The Class is likely comprised of thousands of consumers. The precise number of Class members,

and their addresses, is unknown to Plaintiffs at this time, but can be ascertained from Defendant’s

records and/or retailer records. The members of the Class may be notified of the pendency of this

action by mail or email, Internet postings and/or publications, and supplemented (if deemed

necessary or appropriate by the Court) by published notice.

       74.     Predominant Common Questions (Rule 23(a)(2) and (b)(3)): The Class’ claims

present common questions of law and fact, and those questions predominate over any questions

that may affect individual Class members. The common and legal questions include, but are not

limited to, the following:

                     a. Whether the Affected Products contain benzene;

                     b. Whether Defendant knew or should have known that the Affected Products

                        contain benzene;

                     c. Whether Defendant’s representations and omissions, in its marketing,


                                                 20
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 21 of 44 PageID: 21




                     advertising, labeling, and packaging of the Affected Products, are

                     misleading;

                 d. Whether Defendant’s representations and omissions, in its marketing,

                     advertising, labeling, and packaging of the Affected Products are

                     reasonably likely to deceive;

                 e. Whether Defendant engaged in false and misleading advertising;

                 f. Whether Defendant had knowledge that those representations were false,

                     deceptive, and/or misleading;

                 g. Whether Defendant’s internal testing showed that its products contained

                     benzene;

                 h. Whether Defendant violated the state consumer protection statutes alleged

                     herein;

                 i. Whether Defendant breached its express warranties;

                 j. Whether Defendant breached its implied warranties;

                 k. Whether Defendant was unjustly enriched;

                 l. Whether Defendant has the capability to implement changes to processes,

                     practices, and policies regarding testing its products for contaminants,

                     including, but not limited to benzene; and

                 m. The nature of relief, including damages and equitable relief, to which

                     Plaintiffs and members of the Class are entitled.

       75.    Typicality of Claims (Rule 23(a)(3)): Plaintiffs’ claims are typical of the claims of

the Class because Plaintiffs, like all other Class Members, purchased the Affected Products,

suffered damages as a result of that purchase, and seek the same relief as the proposed Class

Members.


                                               21
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 22 of 44 PageID: 22




       76.      Adequacy of Representation (Rule 23(a)(4)): Plaintiffs adequately represent the

Class because their interests do not conflict with the interests of the members of the Class, and

they have retained counsel competent and experienced in complex class action and consumer

litigation. Plaintiffs and their counsel will fairly and adequately protect the interest of the members

of the Class.

       77.      Superiority (Rule 23(b)(3)): A class action is superior to other available means of

adjudication for this controversy. It would be impracticable for members of the Class to

individually litigate their own claims against Defendant because the damages suffered by Plaintiffs

and the members of the Class are relatively small compared to the cost of individually litigating

their claims. Individual litigation would create the potential for inconsistent judgments and delay

and expenses to the court system. A class action provides an efficient means for adjudication with

fewer management difficulties and comprehensive supervision by a single court.

       78.      Declaratory Relief (Fed. R. Civ. P. 23(b)(1) and (2)): In the alternative, this action

may properly be maintained as a class action because the prosecution of separate actions by

individual members of the Class would create a risk of inconsistent or varying adjudication with

respect to individual Class members, which would establish incompatible standards of conduct for

the Defendant; or the prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to individual members of the Class which would, as a practical

matter, be dispositive of the interests of other members of the Class not parties to the adjudications,

or substantially impair or impede their ability to protect their interests; or Defendant has acted or

refused to act on grounds generally applicable to the Class, thereby making appropriate final

injunctive or corresponding declaratory relief with respect to the Class as a whole.




                                                  22
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 23 of 44 PageID: 23




                                      CAUSES OF ACTION

                                             COUNT I

                           BREACH OF EXPRESS WARRANTY
 (On behalf of Plaintiffs and the Class (or alternatively, the Subclasses) against Defendant)

        79.     Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        80.     Defendant marketed and sold its sunscreen products in the stream of commerce

with the intent that its Affected Products would be purchased by Plaintiffs and the Classes.

        81.     In connection with the sale of the Affected Products, Defendant, as the designer,

manufacturer, marketer, distributor, and/or seller issued written warranties by representing that the

Affected Products were sunscreens that contained only those active and inactive ingredients listed

on the Products’ labels. Those active and inactive ingredients do not include benzene, a known

human carcinogen. Defendant further expressly warrants that the Affected Products are sunscreens

used for sun protection, rather than adulterated sunscreens containing dangerous chemicals.

        82.     The representations, as set forth above, contained or constituted affirmations of fact

or promises made by the seller to the buyer which related to the goods and became part of the basis

of the bargain creating an express warranty that the goods shall conform to the affirmations of fact

or promises.

        83.     Plaintiffs, by use of reasonable care, could not have discovered the breached

warranty and realized the hidden increased risks and unreasonable dangers of using the Affected

Products.

        84.     As a direct and proximate cause of Defendant’s breach of express warranty,

Plaintiffs and the Class members have been injured and harmed because they would not have

purchased the products had they known the true facts regarding the benzene content.



                                                 23
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 24 of 44 PageID: 24




        85.      On July 22, 2021, prior to filing this action, Defendant was served with a pre-suit

notice letter pursuant to U.C.C. §§ 2-313 and 2-607.

                                             COUNT II

           BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 (On behalf of Plaintiffs and the Class (or alternatively, the Subclasses) against Defendant)

        86.      Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        87.      When sold by Defendant, the Affected Products were not merchantable, did not

pass without objection in the trade under the label description, were not of adequate quality within

that description, were not fit for the ordinary purposes for which such goods are used, and did not

conform to the promises or affirmations of fact made on its container or label.

        88.      Unbeknownst to them, at the time the Plaintiffs and Class members purchased the

Affected Products, they were not safe for use as sunscreen products.

        89.      Because of the presence of benzene in the Affected Products, these products do

create a present economic injury to Plaintiffs and the putative class because their sale should never

have occurred.

        90.      As a direct or proximate result of Defendant’s Affected Products being unfit for

their intended purpose and/or otherwise not merchantable, Plaintiffs and the putative Class have

suffered actual damages because they would not have purchased the products had they known the

true facts regarding the benzene content.

                                             COUNT III

                          NEW JERSEY CONSUMER FRAUD ACT
                                 N.J. Stat. Ann. § 56:8-1 et seq.
              (On behalf of Plaintiffs and the Nationwide Class against Defendant)

        91.      Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

                                                  24
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 25 of 44 PageID: 25




        92.     Plaintiffs brings this count on behalf of themselves and all members of the Class

that purchased an Affected Product, including those who purchased in the State of New Jersey.

        93.     Plaintiffs, other members of the Nationwide Class, and Defendant are “persons” as

defined by N.J. Stat. Ann. § 56:8-1(d).

        94.     Defendant sells “merchandise,” as defined by N.J. Stat. Ann. § 56:8-1(c) & (e).

        95.     Defendant maintains a principal place of business within the State of New Jersey.

        96.     The New Jersey Consumer Fraud Act (“NJCFA”) declares that “[t]he act, use or

employment by any person of any unconscionable commercial practice, deception, fraud, false

pretense, false promise, misrepresentation, or the knowing, concealment, suppression, or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale or advertisement of any merchandise or real estate . . . whether or not

any person has in fact been misled, deceived or damaged thereby, is declared to be an unlawful

practice . . . .” N.J.S.A. §§ 56:8-2.

        97.     Defendant has engaged in unfair or deceptive acts or practices that violated N.J.S.A.

§§ 56:8-2, et seq., as described above, by, among other things, representing that the Affected

Products have characteristics, uses, benefits, and qualities which they do not have; representing

that the Affected Products are of a particular standard, quality, and grade when they are not; and

advertising the Affected Products with the intent not to sell them as advertised.

        98.     Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

        99.     Defendant intended to mislead Plaintiffs and the Class members and induce them

to rely on its misrepresentations and omissions.




                                                   25
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 26 of 44 PageID: 26




        100.    Plaintiffs and the Nationwide Class members reasonably relied upon Defendant’s

false misrepresentations. They had no way of knowing that Defendant’s representations were false

and misleading and that the Affected Products contain benzene and are not safe for use.

        101.    Plaintiffs and members of the Class suffered injury in fact and lost money as a result

of Defendant’s conduct. Defendant falsely and misleadingly represented that Affected Products

were healthy and safe for consumers, while omitting to disclose that they contained the carcinogen

benzene. The presence of benzene rendered the Affected Products unsafe, adulterated, and

misbranded. Had Plaintiffs and members of the Class known the truth about the Affected Products,

they would not have purchased the Affected Products.

        102.    Defendant’s actions are deceptive and in clear violation of NJCFA, entitling

Plaintiffs and members of the Classes to treble damages and relief under N.J.S.A. § 56:8-19.

        103.    Accordingly, Plaintiffs seek all damages, injunctive and equitable relief, and

attorneys’ fees and costs available under the NJCFA.

                                            COUNT IV

                          VERMONT CONSUMER FRAUD ACT
                             VT. Stat. Ann. Tit. 9, § 2451 et seq.
         (On behalf of Plaintiff Baker and the Vermont Subclass against Defendant)

        104.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        105.    Plaintiff Baker brings this count on behalf of himself and all members of the Class

that purchased an Affected Product in Vermont

        106.    Plaintiff and Vermont Subclass members are “consumers,” as defined by VT. Stat.

Ann. Tit. 9, § 2451a(a).

        107.    Defendant’s conduct as alleged herein related to “goods” or “services” for personal,

family, or household purposes, as defined by VT. Stat. Ann. Tit. 9, § 2451a(b).


                                                 26
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 27 of 44 PageID: 27




       108.    Defendant is a “seller,” as defined by VT. Stat. Ann. Tit. 9, § 2451a(c).

       109.    Defendant advertised, offered, or sold goods or services in Vermont and engaged

in trade or commerce directly or indirectly affecting the people of Vermont.

       110.    Defendant engaged in unfair and deceptive acts or practices, in violation of VT.

Stat. Tit. 9, § 2453(a), as described herein.

       111.    Defendant intended to mislead Plaintiff Baker and Vermont Subclass members and

induce them to rely on its misrepresentations and omissions.

       112.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       113.    Under the circumstances, consumers had a reasonable interpretation of Defendant’s

representations and omissions.

       114.    Defendant had a duty to disclose material facts to consumers, including but not

limited to, that the Affected Products contain benzene, a known human carcinogen, and are unsafe

for use. These material facts should have been disclosed because they were contrary to Defendant’s

representations about the Affected Products.

       115.    Defendant’s acts and practices caused or were likely to cause substantial injury to

consumers, which was not reasonably avoidable by consumers themselves and not outweighed by

countervailing benefits to consumers or to competition.

       116.    The injury to consumers was and is substantial because it was non-trivial and

nonspeculative; and involved a concrete monetary injury. The injury to consumers was substantial

not only because it inflicted harm on a significant and unprecedented number of consumers, but

also because it inflicted a significant amount of harm on each consumer.

       117.    Consumers could not have reasonably avoided injury because Defendant’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of


                                                27
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 28 of 44 PageID: 28




consumer decision-making. By withholding important information from consumers, Defendant

created an asymmetry of information between it and consumers that precluded consumers from

taking action to avoid or mitigate injury.

          118.   Defendant’s business practices had no countervailing benefit to consumers or to

competition.

          119.   Defendant is presumed, as a matter of law under VT. Stat. Ann. Tit. 9, § 2457, to

have intentionally violated the Vermont Consumer Protection Act because it failed to sell goods

or services in the manner and of the nature advertised or offered.

          120.   Defendant acted intentionally, knowingly, and maliciously to violate Vermont’s

Consumer Fraud Act, and recklessly disregarded Plaintiffs’ and Vermont Subclass members’

rights.

          121.   As a direct and proximate cause of Defendant’s deceptive acts and practices,

Plaintiff Baker and the Vermont Subclass members have been injured and harmed because they

would not have purchased the Affected Products on the same terms if they knew the true facts

regarding the benzene content.



                                              COUNT V

                        MICHIGAN CONSUMER PROTECTION ACT
                             Mich. Comp. Laws Ann. § 445.903 et seq.
          (On behalf of Plaintiff Taillard and the Michigan Subclass against Defendant)

          122.   Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

          123.   Plaintiff Taillard brings this count on behalf of himself and all members of the Class

that purchased an Affected Product in Michigan.




                                                  28
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 29 of 44 PageID: 29




        124.    Defendant, Plaintiff Taillard, and absent Michigan Subclass members are “persons”

as defined by Mich. Comp. Laws Ann. § 445.903(d).

        125.    Defendant advertised, offered, or sold goods or services in Michigan and engaged

in trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.

Comp. Laws Ann. § 445.903(g).

        126.    Defendant engaged in unfair, unconscionable, and deceptive practices in the

conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

(a) representing that its goods and services have characteristics, uses, and benefits that they do not

have, in violation of Mich. Comp. Laws Ann. § 445.903(1)(c); (b) representing that its goods and

services are of a particular standard or quality if they are of another, in violation of Mich. Comp.

Laws Ann. § 445.903(1)(e); (c) making a representation or statement of fact material to the

transaction such that a person reasonably believes the represented or suggested state of affairs to

be other than it actually is, in violation of Mich. Comp. Laws Ann. § 445.903(1)(bb); and (d)

failing to reveal facts that are material to the transaction in light of representations of fact made in

a positive matter, in violation of Mich. Comp. Laws Ann. § 445.903(1)(cc).

        127.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

        128.    Defendant intended to mislead Plaintiffs and Michigan Subclass members and

induce them to rely on its misrepresentations and omissions.

        129.    As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff Taillard and absent Michigan Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Affected Products.




                                                  29
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 30 of 44 PageID: 30



                                            COUNT VI

                 PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                            CONSUMER PROTECTION LAW
                         73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq.
   (On behalf of Plaintiff Humphreys and the Pennsylvania Subclass against Defendant)


        130.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        131.    Plaintiff Humphreys brings this count on behalf of herself and all members of the

Class that purchased an Affected Product in Pennsylvania.

        132.    Defendant is a “person” as meant by 73 Pa. Cons. Stat. § 201-2(2).

        133.    Plaintiff Humphreys and absent Pennsylvania Subclass members purchased goods

and services in “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3), primarily for

personal, family, and/or household purposes.

        134.    Defendant engaged in unfair methods of competition and unfair or deceptive acts

or practices in the conduct of its trade and commerce in violation of 73 Pa. Cons. Stat. § 201-3,

including the following: representing that its goods and services have characteristics, uses,

benefits, and qualities that they do not have (73 Pa. Cons. Stat. § 201-2(4)(v)); representing that

its goods and services are of a particular standard or quality if they are another (73 Pa. Cons. Stat.

§ 201-2(4)(vii)); and advertising its goods and services with intent not to sell them as advertised

(73 Pa. Cons. Stat. § 201-2(4)(ix)).

        135.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

        136.    Defendant intended to mislead Plaintiff Humphreys and Pennsylvania Subclass

members and induce them to rely on its misrepresentations and omissions.




                                                 30
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 31 of 44 PageID: 31




        137.    Had Defendant disclosed to Plaintiff Humphreys and Pennsylvania Subclass

members material facts, including but not limited to, that the Affected Products contain benzene

and are not safe for use as sunscreen, Defendant would have been unable to sell as many Affected

Products that it did or at the price such Affected Products were sold.

        138.    As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff Humphreys and Pennsylvania Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Affected Products.

        139.    Plaintiff Humphreys and Pennsylvania Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages or statutory damages of $100

(whichever is greater), treble damages, attorneys’ fees and costs, and any additional relief the Court

deems necessary or proper.


                                           COUNT VII

               SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                              S.C. Code Ann. § 39-5-10 et seq.
     (On behalf of Plaintiff Nokes and the South Carolina Subclass against Defendant)

        140.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        141.    Plaintiff Nokes brings this count on behalf of herself and all members of the Class

that purchased an Affected Product in South Carolina.

        142.    Defendant is a “person,” as defined by S.C. Code Ann. § 39-5-10(a).

        143.    South Carolina’s Unfair Trade Practices Act (SC UTPA) prohibits “unfair or

deceptive acts or practices in the conduct of any trade or commerce.” S.C. Code Ann. § 39-5-20.




                                                 31
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 32 of 44 PageID: 32




       144.    Defendant advertised, offered, or sold goods or services in South Carolina and

engaged in trade or commerce directly or indirectly affecting the people of South Carolina, as

defined by S.C. Code Ann. § 39-5-10(b).

       145.    Defendant’s acts and practices had, and continue to have, the tendency or capacity

to deceive.

       146.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       147.    Defendant intended to mislead Plaintiff Nokes and South Carolina Subclass

members and induce them to rely on its misrepresentations and omissions.

       148.    Defendant had a duty to disclose material facts to Plaintiff Humphreys and the

South Carolina Subclass given their relationship as contracting parties and intended users of the

Affected Products. Defendant also had a duty to disclose material facts to Plaintiff Humphreys

and the South Caroline Subclass, namely that it was in fact manufacturing, distributing, and selling

harmful products unfit for human use, because Defendant had superior knowledge such that the

transactions without the disclosure were rendered inherently unfair.

       149.    Had Defendant disclosed to Plaintiff Nokes and South Carolina Subclass members

material facts, including but not limited to, that the Affected Products contain benzene and are not

safe for use as sunscreen, Defendant would have been unable to sell as many Affected Products

that it did or at the price such Affected Products were sold.

       150.    Defendant’s business acts and practices offend an established public policy, or are

immoral, unethical, or oppressive.

       151.    Defendant’s unfair and deceptive acts or practices adversely affected the public

interest because such acts or practices have the potential for repetition; Defendant engages in such



                                                 32
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 33 of 44 PageID: 33




acts or practices as a general rule; and such acts or practices impact the public at large, including

the South Carolina Subclass members that purchased and/or used an Affected Product.

        152.    Defendant’s policies and procedures create the potential for recurrence of the

complained-of business acts and practices.

        153.    Defendant’s violations present a continuing risk to Plaintiff Nokes and absent South

Carolina Subclass members as well as to the general public.

        154.    As a direct and proximate result of Defendant’s deceptive acts and practices in the

State of South Carolina, Plaintiff Nokes and South Carolina Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from not receiving the benefit of their bargain in purchasing the

Affected Products.

        155.    Plaintiff Nokes and South Carolina Subclass members seek all monetary and non-

monetary relief allowed by law, including damages for their economic losses, treble damages,

punitive damages, injunctive relief, and reasonable attorneys’ fees and costs.

                                           COUNT VIII

                      MARYLAND CONSUMER PROTECTION ACT
                               Md. Comm. Code § 13-301 et seq.
        (On behalf of Plaintiff Botterill and the Vermont Subclass against Defendant)

        156.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        157.    Plaintiff Botterill brings this count on behalf of himself and all members of the

Class that purchased an Affected Product in Maryland.

        158.    Defendant is a person as defined by Md. Comm. Code § 13-101(h).

        159.    Defendant’s conduct as alleged herein related to “sales,” “offers for sale,” or

“bailment” as defined by Md. Comm. Code §§ 13-101(i) and 13-303.

                                                 33
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 34 of 44 PageID: 34




       160.    Maryland Subclass members are “consumers” as defined by Md. Comm. Code §

13-101(c).

       161.    Defendant advertises, offers, or sell “consumer goods” or “consumer services” as

defined by Md. Comm. Code § 13-101(d).

       162.    Defendant advertised, offered, or sold goods or services in Maryland and engaged

in trade or commerce directly or indirectly affecting the people of Maryland.

       163.    Defendant engaged in unfair and deceptive trade practices, in violation of Md.

Comm. Code § 13-301, including: (a) false or misleading oral or written representations that have

the capacity, tendency, or effect of deceiving or misleading consumers; (b) representing that

consumer goods or services have a characteristic that they do not have; (c) representing that

consumer goods or services are of a particular standard, quality, or grade that they are not; (d)

failing to state a material fact where the failure deceives or tends to deceive; (e) advertising or

offering consumer goods or services without intent to sell, lease, or rent them as advertised or

offered; (f) deception, fraud, false pretense, false premise, misrepresentation, or knowing

concealment, suppression, or omission of any material fact with the intent that a consumer rely on

the same in connection with the promotion or sale of consumer goods or services or the subsequent

performance with respect to an agreement, sale lease or rental.

       164.    Defendant engaged in these unfair and deceptive trade practices in connection with

offering for sale or selling consumer goods or services or with respect to the extension of consumer

credit, in violation of Md. Comm. Code § 13-303.

       165.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       166.    Defendant intended to mislead Plaintiff Botterill and Maryland Subclass members

and induce them to rely on its misrepresentations and omissions.


                                                34
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 35 of 44 PageID: 35




        167.      Had Defendant disclosed to Plaintiff Botterill and Maryland Subclass members

material facts, including but not limited to, that the Affected Products contain benzene and are not

safe for use as sunscreen, Defendant would have been unable to sell as many Affected Products

that it did or at the price such Affected Products were sold. Plaintiff Botterill and absent Maryland

Subclass members acted reasonably in relying on Defendant’s misrepresentations and omissions,

the truth of which they could not have discovered.

        168.      As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff Botterill and absent Maryland Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Affected Products.

        169.      Plaintiff Botterill and Maryland Subclass members seek all monetary and non-

monetary relief allowed by law, including damages, disgorgement, injunctive relief, and attorneys’

fees and costs.

                                              COUNT IX

           HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION ACT
                                 Haw. Rev. Stat. § 480-1 et seq.
          (On behalf of Plaintiff Swartz and the Hawaii Subclass against Defendant)


        170.      Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        171.      Plaintiff Swartz brings this count on behalf of herself and all members of the Class

that purchased an Affected Product in Hawaii.

        172.      Plaintiff Swartz and Hawaii Subclass members are “consumers” as defined by Haw.

Rev. Stat. § 480-1.

        173.      Plaintiff Swartz, Hawaii Subclass members, and Defendant are “persons” as


                                                   35
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 36 of 44 PageID: 36




defined by Haw. Rev. Stat. § 480-1.

       174.    Defendant advertised, offered, or sold goods or services in Hawaii and engaged in

trade or commerce directly or indirectly affecting the people of Hawaii.

       175.    Defendant engaged in unfair or deceptive acts or practices, misrepresentations, and

the concealment, suppression, and omission of material facts with respect to the sale and

advertisement of the goods and services purchased by Hawaii Subclass members in violation of

Haw. Rev. Stat. § 480-2(a).

       176.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       177.    Defendant intended to mislead Plaintiff Swartz and Hawaii Subclass members and

induce them to rely on its misrepresentations and omissions.

       178.    The foregoing unlawful and deceptive acts and practices were immoral, unethical,

oppressive, and unscrupulous.

       179.    As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff Swartz and Hawaii Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in purchasing the Affected Products.

       180.    Plaintiff Swartz and Hawaii Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, benefit of the bargain damages, treble

damages, injunctive relief, and reasonable attorneys’ fees and costs.

                                           COUNT X

     ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                     815 ILL. COMP. STAT. §§ 505 et seq.
         (On behalf of Plaintiff Slafter and the Hawaii Subclass against Defendant)




                                                36
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 37 of 44 PageID: 37




        181.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        182.    Plaintiff Slafter brings this count on behalf of himself and all members of the Class

that purchased an Affected Product in Illinois.

        183.    Defendant is a “person” as defined by 815 ILCS §§ 505/1(c).

        184.    Plaintiff Slafter and Illinois Subclass members are “consumers” as defined by 815

ILCS §§ 505/1(e).

        185.    Defendant’s conduct as described herein was in the conduct of “trade” or

“commerce” as defined by 815 ILCS § 505/1(f).

        186.    Defendant’s conduct as described herein was deceptive, unfair, and unlawful trade

acts or practices, in violation of 815 ILCS § 505/2.

        187.    Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers.

        188.    Defendant intended to mislead Plaintiff Slafter and Illinois Subclass members and

induce them to rely on its misrepresentations and omissions.

        189.    The above unfair and deceptive practices and acts by Defendant were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury that these consumers

could not reasonably avoid; this substantial injury outweighed any benefit to consumers or to

competition.

        190.    As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff Slafter and absent Illinois Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including from not receiving the benefit of their bargain in purchasing the Affected Products.




                                                  37
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 38 of 44 PageID: 38




        191.    Plaintiff Slafter and Illinois Subclass members seek all monetary and non-monetary

relief allowed by law, including damages, restitution, punitive damages, injunctive relief, and

reasonable attorneys’ fees and costs.


                                            COUNT XI

                    CALIFORNIA’S UNFAIR COMPETITION LAW
                           Cal. Bus. & Prof. Code § 17200, et seq.
  (On behalf of Plaintiffs Porter, Xavier, and Ortega and the California Subclass against
                                         Defendant)

        192.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        193.    Plaintiff Porter, Xavier, and Ortega (the “California Plaintiffs”) bring this count on

behalf of themselves and all members of the Class that purchased an Affected Product in

California.

        194.    Defendant is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

        195.    Defendant violated Cal. Bus. & Prof. Code § 17200 et seq. by engaging in unlawful,

unfair, and deceptive business acts and practices.

        196.    Defendant’s manufacturing, marketing, distributing, and selling of the Affected

Products violates California’s Sherman Food, Drug, and Cosmetics Law, Cal. Health & Safety

Code § 111225, et seq. (“Sherman Law”).

        197.    The relevant part of the Sherman Law declares that a drug is misbranded if its

labeling is false or misleading in any particular way and further provides that it is unlawful for any

person to misbrand any drug. Cal. Health & Safety Code §§ 111330, 111440, 111445. The

Sherman Law defines a “person” as “any individual, firm, partnership, trust, corporation, limited

liability company, company, estate, public or private institution, association, organization, group,

city, county, city and county, political subdivision of this state, other governmental agency within


                                                 38
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 39 of 44 PageID: 39




the state and any representative, agent, or agency of any of the foregoing.” Cal. Health & Safety

Code § 109995. Defendant is a corporation and, therefore, a “person” within the meaning of the

Sherman Act.

       198.    The business practices alleged above are unlawful under the Consumers Legal

Remedy Act, Cal. Civ. Code § 1750, et seq. (“CLRA”), which forbids deceptive advertising.

       199.    There is no benefit to consumers or competition by deceptively marketing

sunscreen products. Indeed, the harm to consumers and competition caused by Defendant’s

deceptive marketing of the Affected Products is substantial.

       200.    California Plaintiffs and other members of the California Subclass class had no way

of knowing that the Affected Products they bought were not actually as marketed. Thus, they could

not have reasonably avoided the injury each of them suffered.

       201.    The gravity of the consequences of Defendant’s conduct as described above

outweighs any justification, motive or reason therefore, particularly considering the available legal

alternatives which exist in the marketplace, and it is immoral, unethical, unscrupulous, offends

established public policy, or is substantially injurious to California Plaintiffs and other members

of the California Subclass.

       202.    Defendant’s deceptive marketing of the Affected is likely to deceive reasonable

consumers. Indeed, the California Plaintiffs and other members of the California Subclass were

unquestionably deceived regarding the true danger of the Affected Products, as Defendant’s

marketing of the Products nowhere discloses that the Products may contain benzene, but instead

portrays the Affected Products as safe and healthy. Said acts are deceptive business acts and

practices.

       203.    This deception caused California Plaintiffs and other members of the California

Subclass to purchase the Affected Products. Had they known and understood the true nature and


                                                 39
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 40 of 44 PageID: 40




quality of the Affected Products, California Plaintiffs and other members of the California

Subclass would not have purchased the Affected Products.

        204.     As a result of the business practices described above, Business and Professions

Code § 17203 entitles California Plaintiffs and other members of the California Subclass to an

order enjoining such future conduct on the part of Defendant and such other solely injunctive or

declaratory relief which may be necessary as a result of Defendant’s wrongful conduct.

        205.     The above‐described unlawful business acts and practices, and each of them,

present a threat and reasonable likelihood of deception to California Plaintiffs and other members

of the California Subclass in that Defendant has systematically perpetrated and continues to

perpetrate such acts or practices on California Plaintiffs and other members of the California

Subclass by means of its deceptive manufacturing, marketing, distributing, and selling of the

Affected Products

                                             COUNT XII

                    CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
                                    Cal. Civ. Code § 1750, et seq.
              (On behalf of Plaintiffs Porter, Xavier, and Ortega and the California Subclass
                                         against Defendant)

        206.     Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        207.     Plaintiff Porter, Xavier, and Ortega (the “California Plaintiffs”) bring this count on

behalf of themselves and all members of the Class that purchased an Affected Product in

California.

        208.     This cause of action is brought pursuant to the CLRA.              The CLRA is a

comprehensive statutory scheme that is to be liberally construed to protect consumers against

unfair and deceptive business practices in connection with the conduct of businesses providing

goods, property, or services to consumers primarily for personal, family, or household use.

                                                  40
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 41 of 44 PageID: 41




       209.    Defendant is a “person” as defined by Cal. Civil Code §§ 1761(c) and 1770 and has

provided “goods” as defined by Civil Code §§ 1761(a) and 1770.

       210.    California Plaintiffs are “consumers” under Cal. Civ. Code § 1761(d) and have

suffered damage as a result of Defendant’s acts and practices as set forth below, which are unlawful

under Cal. Civ. Code § 1770(a).

       211.    Defendant’s acts and practices were intended to and did result in the sales of goods

and services to Plaintiffs and the California Subclass members in violation of Cal. Civil Code §

1770, including:

           a. Representing that the Affected Products have characteristics, uses, and/or benefits

               which they do not, in violation of Cal. Civ. Code § 1770(a)(5);

           b. Representing that the Affected Products were of a particular standard, quality, or

               grade which they are not, in violation of Cal. Civ. Code § 1770(a)(7);

           c. Advertising the Affected Products with the intent not to sell them as advertised, in

               violation of Cal. Civ. Code § 1770(a)(9); and

           d. Representing that the Affected Products have been supplied in accordance with

               previous representations when they have not, in violation of Cal. Civ. Code §

               1770(16).

       212.    California Plaintiffs request that this Court enjoin Defendant from continuing to

employ the unlawful methods, acts, and practices alleged herein, and any other solely declaratory

or injunctive relief the Court deems proper pursuant to Cal. Civ. Code §§ 1780 and 1781. If

Defendant is not restrained from engaging in these types of practices on the future, California

Plaintiffs and other members of the California Subclass will continue to suffer harm.




                                                41
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 42 of 44 PageID: 42



                                           COUNT XIII

                                  UNJUST ENRICHMENT
     (On behalf of the Plaintiffs and the Class (or alternatively, the Subclasses) against
                                          Defendant)

        213.    Plaintiffs hereby incorporate all other paragraphs of this Complaint and restate them

as if fully set forth herein.

        214.    Plaintiffs and Class members conferred benefits upon Defendant. Plaintiffs and

Class members paid money for Defendant’s worthless and defective Affected Products.

        215.    Defendant has unjustly retained the benefits conferred upon by Plaintiffs and Class

members.

        216.    Defendant retained those benefits under circumstances that make it inequitable for

Defendant to retain such benefits. Specifically, Defendant retained those benefits even though

Defendant’s Affected Products contain benzene and are unfit and unsafe for human use. If

Plaintiffs and Class members had known the true nature of Defendant’s Affected Products, they

would not have purchased the products. Plaintiffs and Class members are therefore entitled to

disgorgement and/or restitution as prayed for hereunder.

        217.    Because Defendant’s retention of the non-gratuitous benefits conferred on it by

Plaintiffs and members of the Class is unjust and inequitable, Defendant must pay restitution to

Plaintiffs and members of the Class for its unjust enrichment, as ordered by the Court.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, pray for

relief and judgment against Defendant as follows:

        a.      Certifying the Classes pursuant to Rule 23 of the Federal Rules of Civil Procedure,

        appointing Plaintiffs as representatives of the Class, and designating Plaintiffs’ counsel as

        Class Counsel;


                                                 42
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 43 of 44 PageID: 43




     b.     Awarding Plaintiffs and the Classes compensatory damages, in an amount

     exceeding $5,000,000, to be determined by proof;

     c.     Awarding Plaintiffs and the Classes appropriate relief, including but not limited to

     actual damages;

     d.     For declaratory and equitable relief, including restitution and disgorgement;

     e.     For an order enjoining Defendant from continuing to engage in the wrongful acts

     and practices alleged herein;

     f.     Awarding Plaintiffs and the Classes the costs of prosecuting this action, including

     expert witness fees;

     g.     Awarding Plaintiffs and the Classes reasonable attorneys’ fees and costs as

     allowable by law;

     h.     Awarding pre-judgment and post-judgment interest;

     i.     For punitive damages; and

     j.     Granting any other relief as this Court may deem just and proper.




                                             43
Case 3:21-cv-14421-ZNQ-TJB Document 1 Filed 07/30/21 Page 44 of 44 PageID: 44




                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury of all claims so triable.


Dated: July 30, 2021                              Respectfully submitted,

                                                  /s/ James E. Cecchi
                                                  James E. Cecchi, Esq.
                                                  Kevin G. Cooper, Esq.
                                                  CARELLA, BYRNE, CECCHI,
                                                  OLSTEIN, BRODY & AGNELLO, P.C.
                                                  5 Becker Farm Road
                                                  Roseland, New Jersey 07068
                                                  Telephone: (973) 994-1700
                                                  Facsimile: (973) 994-1744
                                                  Email: JCecchi@carellabyrne.com
                                                         KCooper@carellabyrne.com

                                                  LEVI & KORSINSKY, LLP
                                                  Mark S. Reich
                                                  Courtney E. Maccarone
                                                  55 Broadway, 10th Floor
                                                  New York, NY 10006
                                                  Telephone: 212-363-7500
                                                  Facsimile: 212-363-7171
                                                  Email: mreich@zlk.com
                                                         cmaccarone@zlk.com

                                                  Counsel for Plaintiffs




                                                 44
